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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

JILL CARUSO, Individually                         )
                                                  )
               Plaintiff,                         )   Case No. 2:22-cv-11634
v.                                                )
                                                  )
A & Y Property L.L.C., a Michigan limited         )   Judge:
liability company,                                )
                                                  )
                                                  )
                                                  )
               Defendant.


               COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF

       Plaintiff, Jill Caruso, individually, (hereinafter referred to as “Plaintiff”), by and through

the undersigned counsel, Owen B. Dunn, Jr., Counsel for Plaintiff, hereby files this Complaint

against Defendant, A & Y PROPERTY L.L.C., a Michigan limited liability company for

injunctive relief, damages, attorneys’ fees, litigation expenses, and costs pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), alleging as follows:

                                JURISDICTION AND VENUE

1.     This action is brought by the Plaintiff, Jill Caruso, individually, and on behalf of

       individuals similarly situated, pursuant to the enforcement provision of the American

       with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12188(a), against the Defendant as

       delineated herein.

2.     The Court has jurisdiction pursuant to the following statutes: 28 U.S.C. § 1331, which

       governs actions that arise from the Defendant’s violations of Title III of the ADA, 42

       U.S.C. § 12181, et seq.; 28 U.S.C. § 1331, which gives the District Courts original

       jurisdiction over civil actions arising under the Constitution, laws, or treaties of the
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       United States; 28 U.S.C. § 1343(3) and (4), which gives District Courts jurisdiction over

       actions to secure civil rights extended by the United States government; and 28 U.S.C. §

       1367, as Count II utilizes the same core of operative facts as Count I, and is therefore

       subject to supplemental jurisdiction.

3.     Venue is proper in the Eastern District of Michigan as venue lies in the judicial district of

       the property situs. The Defendant’s property and operations complained of by Plaintiff

       are located in this judicial district, where the business of public accommodation is

       conducted, including the acts complained of herein.

                                            PARTIES

4.     Plaintiff, Jill Caruso (“Plaintiff”), is a Monroe County, Michigan resident, is sui juris,

       and qualifies as an individual with disabilities as defined by the ADA, 42 U.S.C. §

       12102(2), 28 C.F.R. 36.104.

5.     Defendant A & Y PROPERTY L.L.C. owns and operates a Shell gas station and food

       mart located at 7600 N Telegraph Rd., Newport, MI 48166 in Monroe County, Michigan.

       Plaintiff patronized Defendant’s gas station and food mart most recently on May 23, 2022

       and on previous occasions as a place of public accommodation.

6.     Upon information and belief, the gas station and food mart owned and operated by

       Defendant is non-compliant with the remedial provisions of the ADA. As Defendant

       owns, leases, leases to, or operates a place of public accommodation as defined by the

       ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104,

       Defendant is responsible for complying with the obligations of the ADA. Defendant’s

       gas station and food mart, as a place of public accommodation, fails to comply with the

       ADA and its regulations, as also described further herein.
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7.      Plaintiff, JILL CARUSO is diagnosed with spina bifida and qualifies as an individual

        with disabilities as defined by the ADA. Plaintiff uses a wheelchair for mobility. As

        such, she is substantially limited in performing one or more major life activities,

        including but not limited to, standing and walking, as defined by the ADA and its

        regulations thereto.

8.      Plaintiff has a realistic, credible, existing and continuing threat of discrimination from the

        Defendant’s non-compliance with the ADA with respect to this property as described but

        not necessarily limited to the allegations contained in this complaint.         Plaintiff has

        reasonable grounds to believe that she will continue to be subjected to discrimination in

        violation of the ADA by the Defendants. Plaintiff desires to visit the Defendant’s place of

        business again on future occasions.

9.      The Defendant has discriminated against the individual Plaintiff by denying her access to

        the full and equal enjoyment of the goods, services, facilities, privileges, advantages

        and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

10.     The Defendant has discriminated, and are continuing to discriminate, against the Plaintiff

        in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

        1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

        $500,000 or less).

11.     A preliminary inspection of the gas station and food mart owned and operated by A & Y

        PROPERTY L.L.C., has shown that many violations of the ADA exist. These violations

        include, but are not limited to:


Parking and Accessible Routes

        A. The facility entirely lacks designated accessible parking spaces, including van
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            accessible parking spaces, in violation of the ADA whose remedy is readily
            achievable.

      B. There is no accessible route into the food mart due to a non-compliant curb ramp that
         lacks a level landing at the apex, in violation of the ADA whose remedy is readily
         achievable.

      C. There are cracks and changes in level along the accessible route into the food mart, in
         violation of the ADA whose remedy is readily achievable.

      D. There is no accessible path of travel connecting all amenities due to obstructions like
         an ice machine and propane tanks blocking the required clear width of the sidewalk,
         in violation of the ADA whose remedy is readily achievable.

      E. There is no accessible route for a front or parallel approach to ice machine, probabne
         tanks, air vending, firewood, etc. in violation of the ADA whose remedy is readily
         achievable.

Restroom:

      F. Restroom signage is non-compliant including lacking the international symbol of
         accessibility and tactile braille, in violation of the ADA whose remedy is readily
         achievable.

      G. The restroom contains amenities, including seat covers and a coat hook, that are
         mounted in excess of allowable reach range, in violation of the ADA whose remedy
         is readily achievable.

      H. The restroom is entirely missing a water closet rear grab bar, in violation of the ADA
         whose remedy is readily achievable.

      I. The flush control is not located on the open side of the water closet, in violation of the
         ADA whose remedy is readily achievable.

      J. The restroom lock requires tight grasping or twisting to operate, in violation of the
         ADA whose remedy is readily achievable.

      K. The restroom lavatory pipes are not insulated to protect against scalding or contact, in
         violation of the ADA whose remedy is readily achievable.

      L. The restroom mirror is located in excess of 40 inches from the finish floor to the
         reflective surface, in violation of the ADA regulations whose remedy is readily
         achievable.

      M. The toilet paper dispenser is not mounted in the required location, in violation of the
         ADA whose remedy is readily achievable.
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Policies and Procedures

        N. The operator lacks or has inadequately defined policies and procedures for the
           assistance of disabled patrons, including the lack of a policy to maintain its accessible
           features, in violation of the ADA whose remedy is readily achievable.

12.     The discriminatory violations described in Paragraph 11 by the facility are not an

        exhaustive list of the Defendant’s ADA violations. Plaintiff requires further inspection of

        the Defendant’s place of public accommodation in order to photograph and measure all

        of the discriminatory acts violating the ADA and all of the barriers to access. The

        individual Plaintiff, and all others similarly situated will continue to suffer such

        discrimination, injury and damage without the immediate relief provided by the ADA as

        requested herein.

                                 COUNT I
              VIOLATION OF THE AMERICANS WITH DISABILITES ACT

13.      Plaintiff restates the allegations of ¶¶1-12 as if fully rewritten here.

14.      The gas station and food mart, as owned or operated by Defendant, is a public

         accommodation and service establishment, and as such, must be, but is not, in

         compliance with the Americans with Disabilities Act ("ADA") and Americans with

         Disabilities Act Accessibility Guidelines ("ADAAG").

15.      Plaintiff was unlawfully denied full and equal enjoyment of the goods, services, facilities,

         privileges, and advantages of the property on the basis of disability due to Defendant’s

         failure to comply with Title III of the Americans with Disabilities Act and its

         accompanying regulations, as prohibited by 42 U.S.C. § 12182, et seq. Defendant will

         continue to discriminate against Plaintiff and others with disabilities unless and until

         Defendant is compelled to remove all physical barriers that exist at the facility, including
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         those specifically set forth herein, and make the facility accessible to and usable by

         persons with disabilities, including Plaintiff.

16.     The Plaintiff, and others similarly-situated, is presently without adequate remedy at law

        and is damaged by irreparable harm. Plaintiff reasonably anticipates that he will continue

        to suffer irreparable harm unless and until Defendant is required to remove the physical

        barriers, dangerous conditions, and ADA violations that exist at the Facility, including

        those set forth herein.

17.     Pursuant to 42 U.S.C. §12188, Plaintiff requests that the Court issue an injunction

        requiring Defendant to make such readily achievable alterations as are legally required to

        provide full and equal enjoyment of the goods, services, facilities, privileges, and

        advantages on its property to disabled persons. In connection with that relief, Plaintiff

        requests reasonable attorney’s fees and costs of maintaining this action.

                             COUNT II
 VIOLATION OF MICHIGAN PERSONS WITH DISABILITIES CIVIL RIGHTS ACT
                        M.C.L. § 37.1301 et seq.

18.     Plaintiff restates the allegations of ¶¶1 - 1 7 as if fully rewritten here.

19.     A & Y Property L.L.C. owns or operates a "place[s] of public accommodation" pursuant

        to M.C.L §37.1301(a).

23.     Defendant committed an unlawful act pursuant to M.C.L §37.1302(a) by denying Plaintiff

        the full enjoyment of its goods, services, accommodations, advantages, facilities, or

        privileges. Whereas, the Defendant has denied Ms. Caruso and others with mobility

        impairments safe and accessible parking spaces (because there are none) and is denied an

        accessible restroom facility.

24.     Pursuant to M.C.L §37.1606, Plaintiff is entitled to compensatory and exemplary damages,
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       and attorneys’ fees and costs, in an amount to be determined at trial, but in any event not

       less than $25,000.00, as well as issuance of an injunction requiring Defendant to allow

       full and equal enjoyment of its goods, services, facilities, privileges, and advantages to

       disabled persons.

WHEREFORE, Plaintiff demands,

        For COUNT I, an injunction requiring Defendant to make all readily achievable

       alterations and institute policies and procedures to allow full and equal enjoyment of the

       goods, services, facilities, privileges, and advantages to disabled persons, and the

       reasonable attorneys’ fees and costs of maintaining this action; and,



       For COUNT II, compensatory and exemplary damages, and attorneys’ fees and costs, in

an amount to be determined at trial, but in any event not less than $25,000.00, as well as issuance

of an injunction requiring Defendant to allow full and equal enjoyment of the goods, services,

facilities, privileges, and advantages to disabled persons.



                                              Respectfully Submitted,

                                              Counsel for Plaintiff:

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